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12/30/24, 2:37 PM   Case 3:22-cv-00178-SDD-SDJ                           Document
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              Outlook


       LA State Senate Special Elections - Nairne Injunction

        From Megan Keenan <MKeenan@aclu.org>
        Date Tue 12/17/2024 5:54 PM
        To     Phil Strach <phil.strach@nelsonmullins.com>; alyssa.riggins@nelsonmullins.com
               <alyssa.riggins@nelsonmullins.com>; cassie.holt@nelsonmullins.com <cassie.holt@nelsonmullins.com>; John
               Conine <coninej@scwllp.com>; john@scwllp.com <john@scwllp.com>
        Cc     Aguinaga, Ben <AguinagaJ@ag.louisiana.gov>; Bokat-Lindell, Noah (CRT) <Noah.Bokat-Lindell@usdoj.gov>;
               rraile@bakerlaw.com <rraile@bakerlaw.com>; Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>; Prouty,
               Erika Dackin <eprouty@bakerlaw.com>; Freeman, Daniel (CRT) <Daniel.Freeman@usdoj.gov>; Colin Burke
               <cburke@naacpldf.org>; Sarah Brannon <sbrannon@aclu.org>; Giglio, Amanda <agiglio@cozen.com>; de
               Leeuw, Michael <mdeleeuw@cozen.com>; External - John Adcock <jnadcock@gmail.com>; Bahn, Josephine
               M. <jbahn@cozen.com>; Nora Ahmed <Nahmed@laaclu.org>; Ron Wilson <cabral2@aol.com>; Stuart Naifeh
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               <RobertClark@cozen.com>; Margulis, David <dmargulis@cozen.com>; Dayton Campbell-Harris <DCampbell-
               Harris@aclu.org>


       Counsel:

       We have become aware that the Secretary intends to conduct elecƟons for two seats in the State
       Senate, with primary races scheduled for February 15, 2025 and a general elecƟon on March 29, 2024.
       As you are aware, following our trial, the district court "ORDERED that elecƟons under S.B. 1 and H.B. 14
       be and are hereby ENJOINED." Nairne v. Ardoin, 715 F. Supp. 3d 808, 878 (M.D. La. 2024). Please
       confirm, as soon as possible, whether a new State Senate map will be implemented in Ɵme for the
       upcoming elecƟon.

       Best,
       Megan


       Megan Keenan
       Pronouns: she/her


       Staff Attorney, Voting Rights Project
       American Civil Liberties Union
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